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13                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
14

15
      DEFENSE FOR CHILDREN
16    INTERNATIONAL – PALESTINE; AL-                  Case No.: 23-cv-5829-JSW
      HAQ; AHMED ABU ARTEMA;
17    MOHAMMED AHMED ABU ROKBEH;                      [PROPOSED] ORDER REGARDING
      MOHAMMAD HERZALLAH; A.N.;                       MOTION FOR ADMINISTRATIVE
18    LAILA ELHADDAD; WAEIL ELBHASSI;                 RELIEF FOR IN-PERSON AND ZOOM
      BASIM ELKARRA; and DR. OMAR EL-                 HEARING ON PLAINTIFFS’ MOTION
19
      NAJJAR                                          FOR PRELIMINARY INJUNCTION
20                                                    AND DEFENDANTS’ MOTION TO
                             Plaintiffs,              DISMISS
21
              v.                                      Hearing: January 26, 2024, at 9:00 am
22
      JOSEPH R. BIDEN, JR., President of the
23
      United States, ANTONY J. BLINKEN,
24    Secretary of State, LLOYD JAMES
      AUSTIN III, Secretary of Defense, in their
25    official capacities,
26                           Defendants.
27

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     PROPOSED ORDER ON MOTION FOR ADMINISTRATIVE RELIEF                          Case No. 23-CV-5829
     FOR IN-PERSON AND ZOOM HEARING
          Case 4:23-cv-05829-JSW Document 67 Filed 01/16/24 Page 2 of 2



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 8                                             [PROPOSED] ORDER

 9          IT IS HEREBY ORDERED that the Motion for Administrative Relief for In-Person and Zoom
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     Hearing on Plaintiffs’ Motion for Preliminary Injunction and Defendants’ Motion to Dismiss is
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     GRANTED. The Court will conduct an in-person hearing on January 26, 2024. Furthermore, the
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     Court’s videoconference capabilities will also remain enabled so that Plaintiffs and other interested
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     parties can access the Court and observe the hearing in real time via the Court’s public Zoom link.
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16          January 16, 2024
     Dated: December ____, 2023
17

18                                                U.S. District Judge Jeffrey S. White
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     PROPOSED ORDER ON MOTION FOR ADMINISTRATIVE RELIEF                             Case No. 23-CV-5829
     FOR IN-PERSON AND ZOOM HEARING
